Case 2:16-cv-06576-KM-MAH Document 266-38 Filed 10/10/22 Page 1 of 33 PageID: 12050




             Exhibit 38
Case 2:16-cv-06576-KM-MAH Document 266-38 Filed 10/10/22 Page 2 of 33 PageID: 12051



                                                                     Page 1

   1                   UNITED STATES DISTRICT COURT
   2                      DISTRICT OF NEW JERSEY
   3                  CIVIL ACTION NO.: 2:16-CV-06576
   4
   5       - - - - - - - - - - - - - - - - - :
          INDUSTRIA DE ALIMENTOS ZENU         :
   6      S.A.S.,                             :
                                              :
   7                          Plaintiff,      :
                     vs.                      :
   8                                          :
          LATINFOOD U.S. CORP. d/b/a ZENU     :
   9      PRODUCTS CO. and WILSON ZULUAGA,    :
                                              :
  10                     Defendant/           :
                            Counter Plaintiff,:
  11       - - - - - - - - - - - - - - - - - :
          LATINFOOD U.S. CORP. d/b/a ZENU     :
  12      PRODUCTS CO.,                       :
                                              :
  13                     Defendant/           :
                            Counter Plaintiff,:
  14                                          :
                    vs.                       :
  15                                          :
          INDUSTRIA DE ALIMENTOS ZENU S.A.S. :
  16      and CORDIALSA USA, INC.             :
                                              :
  17                        Counter Defendants:
           - - - - - - - - - - - - - - - - - :
  18
                    TRANSCRIPT of the deposition of ELVIS RODRIGUEZ, a
  19      witness herein, called for Oral Examination by the parties
          in the above-entitled action, said deposition being taken
  20      pursuant to Superior Court Rules of Civil Practice, by and
          before MARIA L. ALOIA, C.C.R., License No. XIO1626, a Notary
  21      Public and Certified Court Reporter of the State of New
          Jersey, at the offices of THE INGBER LAW FIRM, 51 JFK
  22      Parkway, Short Hills, New Jersey, on Monday, March 18, 2019,
          commencing at 2:06 p.m.
  23
  24
  25

                                  Veritext Legal Solutions
       800-227-8440                                                    973-410-4040
Case 2:16-cv-06576-KM-MAH Document 266-38 Filed 10/10/22 Page 3 of 33 PageID: 12052

                                      RODRIGUEZ

                                                                   Page 13

   1      Cordialsa?
   2              A.     I have no idea.
   3              Q.     Okay.    When you say you haven't seen
   4      him in a while, did you see him last year, by any
   5      chance?
   6              A.     I don't recall if it was last year or
   7      the year before that.
   8              Q.     Has somebody else been representing
   9      Cordialsa since Mr. Yepes?
  10              A.     Yes.
  11              Q.     Who's that?
  12              A.     I don't recall his name.
  13              Q.     Do you have a relationship with
  14      Latinfood?
  15              A.     A relationship of buying their
  16      products?
  17              Q.     Yes.
  18              A.     Yes.
  19              Q.     What kind of product do you buy from
  20      them?
  21              A.     Mainly Colombian products, chips,
  22      sweets, beans at that time.
  23              Q.     How about meats?
  24              A.     Yes.
  25              Q.     You buy meats from them, from

                                  Veritext Legal Solutions
       800-227-8440                                                    973-410-4040
Case 2:16-cv-06576-KM-MAH Document 266-38 Filed 10/10/22 Page 4 of 33 PageID: 12053

                                       RODRIGUEZ

                                                                   Page 14

   1      Latinfood?
   2              A.     Yes.
   3              Q.     Currently?
   4              A.     Currently, no.
   5              Q.     Okay.
   6              A.     Currently, no.
   7              Q.     Is -- who is the representative with
   8      Latinfood that you deal with?
   9              A.     Wilson.
  10              Q.     Mr. Zuluaga who's sitting here?
  11              A.     Yes, I know him as Wilson.
  12              Q.     Wilson, yes.        How long have you been
  13      dealing with Wilson on behalf of Latinfood?
  14              A.     Since we've opened the store, very
  15      close to seven years.
  16              Q.     Okay.    Now, do you recall Mr. Yepes
  17      coming into your store on or around July 15th, 2015?
  18              A.     The dates, if that's what the date was,
  19      yes.    But I don't remember what year, what day it
  20      was.    I do remember the conversation that we had
  21      regarding the products that he said we shouldn't be
  22      selling.
  23              Q.     Now, did you see anywhere in the
  24      document Exhibit A that there's a reference to a
  25      date of July 15th, 2015?

                                   Veritext Legal Solutions
       800-227-8440                                                    973-410-4040
Case 2:16-cv-06576-KM-MAH Document 266-38 Filed 10/10/22 Page 5 of 33 PageID: 12054

                                      RODRIGUEZ

                                                                      Page 15

   1              A.     Yes.
   2              Q.     And do you see -- could you take a look
   3      at --
   4              A.     What paragraph?
   5              Q.     Paragraph 18 on Page 23.
   6              A.     Okay.    Okay.     What about it?
   7              Q.     Does that refresh your recollection
   8      about July 15th, 2015 being a date?
   9              A.     It refreshes my recollection on what
  10      happened.    On the date, no.
  11              Q.     No?
  12              A.     But, again, I -- what happened, yes.              I
  13      just don't recall the month, the date.
  14              Q.     Okay.
  15              A.     You know, but what happened.
  16              Q.     Do you have any reason to doubt that
  17      that was the date?
  18              A.     No, absolutely not.            No.
  19              Q.     Okay.    So in connection with this date
  20      that's referenced in Paragraph 18, tell me your
  21      recollection about what happened on that date.
  22              A.     Alejandro comes to the store, he points
  23      out to me some products that we're not supposed to
  24      be selling it because there's supposedly an
  25      unauthorized supplier supplying it.                So, again, I'm

                                  Veritext Legal Solutions
       800-227-8440                                                     973-410-4040
Case 2:16-cv-06576-KM-MAH Document 266-38 Filed 10/10/22 Page 6 of 33 PageID: 12055

                                      RODRIGUEZ

                                                                   Page 16

   1      not -- I don't know what's the real brands supposed
   2      to be or not.     And it happened to be that Wilson a
   3      couple of minutes later walked in too and I brought
   4      it to his attention and that's when he had the
   5      conversation with Alejandro --
   6              Q.     So --
   7              A.     -- about it.
   8              Q.     So first you spoke to Mr. Yepes that
   9      day?
  10              A.     Yes.    He's the one who brought it to my
  11      attention that we supposedly weren't selling -- it
  12      wasn't an authentic brand under the Zenu brand.
  13              Q.     The Zenu brand?
  14              A.     Yes.
  15              Q.     Is that Z-E-N-U?
  16              A.     Correct.
  17              Q.     So you were selling -- were you selling
  18      Mr -- Latinfood's Zenu brand meats at that time?
  19              A.     Meat and canned goods.
  20              Q.     Okay.    And did Mr. Yepes tell you that
  21      those were unauthorized?
  22              A.     Yes.
  23              Q.     Did he tell you that they were fake?
  24              A.     That they weren't authorized because it
  25      wasn't Zenu products so, yeah, fake.

                                  Veritext Legal Solutions
       800-227-8440                                                    973-410-4040
Case 2:16-cv-06576-KM-MAH Document 266-38 Filed 10/10/22 Page 7 of 33 PageID: 12056

                                      RODRIGUEZ

                                                                         Page 17

   1              Q.     Okay.    Was -- did he tell you if his
   2      company was selling authentic Zenu product?
   3              A.     No.    He says that his company -- he
   4      said that his company was the one who would
   5      authorize those products and those products were
   6      never authorized by his company.
   7              Q.     Okay.    Did he say what the name of his
   8      company was?
   9              A.     I don't remember.
  10              Q.     Could it have been Industria?
  11              A.     Again, I don't remember.
  12              Q.     But was Cordialsa selling you meat
  13      products at that time?
  14              A.     No.    No.
  15              Q.     So he was asking you to remove
  16      Latinfood's Zenu meat products even though they
  17      weren't selling any meat products themselves.                  Is
  18      that right?
  19              A.     Again, where the whole thing started
  20      was on the grocery side, the canned goods, which was
  21      Zenu beans.    So from that he said any Zenu products.
  22      I never walked to my meat department and he
  23      specifically pointed meat products.                It was in
  24      general Zenu products, which we did carry some meat
  25      products that were Zenu.         But the biggest issue was

                                  Veritext Legal Solutions
       800-227-8440                                                        973-410-4040
Case 2:16-cv-06576-KM-MAH Document 266-38 Filed 10/10/22 Page 8 of 33 PageID: 12057

                                      RODRIGUEZ

                                                                   Page 18

   1      the canned goods that were Zenu.
   2              Q.     The meat goods?
   3              A.     The canned goods.
   4              Q.     The canned?
   5              A.     Canned beans.
   6              Q.     That was a problem for him too?
   7              A.     What do you mean by too?
   8              Q.     I thought he wanted you to review all
   9      the Latinfood Zenu products?
  10              A.     Correct.     But all this stemmed out from
  11      the canned beans that we sold.            Like I said, we
  12      never walked to the meat section to look at the Zenu
  13      products, but he said in general all Zenu products
  14      we're not supposed to sell.
  15              Q.     Did he tell you or did he say that the
  16      Latinfood Zenu branded products were subpar?
  17              A.     What do you mean by subpar?
  18              Q.     No good.
  19              A.     That they weren't authorized to be
  20      sold.
  21              Q.     Okay.    He told you that?
  22              A.     Correct.
  23              Q.     Did he give you any documentation to
  24      show you that the Latinfood Zenu brand products were
  25      fake?

                                  Veritext Legal Solutions
       800-227-8440                                                    973-410-4040
Case 2:16-cv-06576-KM-MAH Document 266-38 Filed 10/10/22 Page 9 of 33 PageID: 12058

                                      RODRIGUEZ

                                                                   Page 19

   1              A.     No.
   2              Q.     Did he tell you that Cordialsa was
   3      authorized to sell Zenu branded products?
   4              A.     No.
   5              Q.     It was some other company?
   6              A.     What do you mean it was some other
   7      company?
   8              Q.     Strike that.
   9                     Did he -- did Mr. Yepes show you any
  10      trademark registrations?
  11              A.     No.
  12              Q.     Did he mention that his company had
  13      never sold any Zenu products in the U.S.?
  14              A.     We never spoke about that.
  15              Q.     Okay.    Did he tell you who he was there
  16      on behalf?
  17              A.     His company, where he's always been in
  18      and out a couple of times a month to the store
  19      making sure the store is being serviced the right
  20      way and he happened to notice and that's when he
  21      brought it up.
  22              Q.     That was Cordialsa was his company?
  23              A.     Yes.
  24              Q.     Okay.    Did he offer to sell you
  25      authentic Zuluaga branded products?

                                  Veritext Legal Solutions
       800-227-8440                                                    973-410-4040
Case 2:16-cv-06576-KM-MAH Document 266-38 Filed 10/10/22 Page 10 of 33 PageID: 12059

                                       RODRIGUEZ

                                                                    Page 20

    1              A.     No.
    2              Q.     Ever?
    3              A.     Ever.
    4              Q.     Did he tell you that there was a
    5      lawsuit involving the Zenu name?
    6              A.     No.
    7              Q.     Did he suggest that if you continued
    8      selling the Zenu product, that you might be named in
    9      some kind of lawsuit?       When I say you, I mean Food
   10      Fair.
   11              A.     He did say that we weren't supposed to
   12      sell it and before anything happens, it's better to
   13      just remove it from the selling floor -- from the
   14      sales floor.
   15              Q.     Did you take that as a threat?
   16              A.     No.   No.
   17              Q.     Did you take it as a warning?
   18              A.     No.   I took it as bringing it up to
   19      Wilson's attention.
   20              Q.     Did Mr. Yepes tell you that his company
   21      was having problems bringing Zenu branded food into
   22      the U.S. because of custom issues?
   23              A.     No.
   24              Q.     Now, after your conversation with
   25      Mr. Yepes, did you report your conversation to

                                   Veritext Legal Solutions
        800-227-8440                                                   973-410-4040
Case 2:16-cv-06576-KM-MAH Document 266-38 Filed 10/10/22 Page 11 of 33 PageID: 12060

                                       RODRIGUEZ

                                                                    Page 21

    1      anybody else at Food Fair?
    2              A.     No.
    3              Q.     Did you follow his requests and remove
    4      Latinfood Zenu branded products from your shelves?
    5              A.     No, we just didn't order it anymore.
    6              Q.     You stopped ordering it?
    7              A.     We stopped ordering it.
    8              Q.     And Wilson was at the store the same
    9      day as Mr. Yepes?
   10              A.     Yes.
   11              Q.     Do you remember why Wilson was coming
   12      to the store that day, by any chance?
   13              A.     Well, yeah, he services our store, so
   14      he's in the store a couple of times a month, the
   15      same way Alejandro.      He also -- they just happened
   16      to be there the same time.          Right after Alejandro
   17      told me what he told me, I saw Wilson and I
   18      explained to him what he said and Wilson asked me to
   19      show him the guy and he confronted him about it
   20      and --
   21              Q.     Mr. Yepes?
   22              A.     He confronted Mr. Yepes.
   23              Q.     Were you present during his
   24      conversation with Mr. Yepes?
   25              A.     Yes.

                                   Veritext Legal Solutions
        800-227-8440                                                   973-410-4040
Case 2:16-cv-06576-KM-MAH Document 266-38 Filed 10/10/22 Page 12 of 33 PageID: 12061

                                       RODRIGUEZ

                                                                       Page 22

    1              Q.     And where did this conversation take
    2      place?
    3              A.     In the parking lot.
    4              Q.     At Food Fair?
    5              A.     Correct.
    6              Q.     Okay.    Could you relate what the
    7      conversation was about?
    8              A.     Well, the Zenu products.
    9              Q.     Did -- now, before this conversation
   10      that you were present at, did Wilson express any
   11      kind of anger or at your decision in connection with
   12      the Zenu branded products?
   13              A.     No.   But he was differently curious on
   14      why Alejandro said what he said.
   15              Q.     Did you mention to Wilson at the time
   16      that you weren't going to reorder the product?
   17              A.     I don't remember why we stopped
   18      ordering it.    I don't remember why.              Like I said, I
   19      didn't remove it from the shelf, we just sold out
   20      and never ordered again for whatever reason.                I
   21      would guess that it was because we weren't supposed
   22      to sell it and that's why we never got it --
   23              Q.     Okay.
   24              A.     -- again.
   25              Q.     But did you tell Wilson that Mr. Yepes

                                   Veritext Legal Solutions
        800-227-8440                                                       973-410-4040
Case 2:16-cv-06576-KM-MAH Document 266-38 Filed 10/10/22 Page 13 of 33 PageID: 12062

                                        RODRIGUEZ

                                                                    Page 23

    1      wanted you to remove all the Zenu products?
    2              A.     Yes.   Yes.
    3              Q.     So did Wilson confront Mr. Yepes about
    4      him -- about Mr. Yepes approaching you with this
    5      demand?
    6              A.     Yes.
    7              Q.     And what did Mr. Yepes say?
    8              A.     I can't remember what he said.
    9              Q.     Did Mr. Yepes state that he was acting
   10      on behalf of Cordialsa during that conversation?
   11              A.     Yes.
   12              Q.     Did he say that he had -- did he tell
   13      Wilson that he had been ordered to do so, to convey
   14      this message to you?
   15              A.     Yes.
   16              Q.     Did Wilson ask Mr. Yepes who
   17      specifically gave him the order to do so?
   18              A.     Yes.
   19              Q.     And did Mr. Yepes offer the name and
   20      position of Luis Arango as the person who gave him
   21      instructions?
   22              A.     I don't remember the name, but I would
   23      say yes to that because they were -- they were both
   24      being cooperative, they were both sharing
   25      information.    Wilson was asking who and Alejandro

                                   Veritext Legal Solutions
        800-227-8440                                                   973-410-4040
Case 2:16-cv-06576-KM-MAH Document 266-38 Filed 10/10/22 Page 14 of 33 PageID: 12063

                                          RODRIGUEZ

                                                                      Page 24

    1      was telling him who it was, but names I don't
    2      remember.
    3              Q.       Did Mr. Yepes say that he was -- that
    4      you weren't the only person or the only store that
    5      he was insisting remove all Latinfood's Zenu
    6      products?
    7              A.       Yes, I think he did mention other
    8      stores.      I think he even mentioned Twin City and
    9      some Supremos or I don't remember, but I know Twin
   10      City was one of the ones that he said he had
   11      approached them also because they had purchased the
   12      products.
   13              Q.       So it wasn't just Food Fair that
   14      Mr. Yepes demanded remove Latinfood Zenu products,
   15      to your recollection?
   16              A.       No, it wasn't just Food Fair.
   17              Q.       Where's Twin City, by the way?
   18              A.       There's one in Newark and one in
   19      Elizabeth.
   20              Q.       How about Supremos, do you know where
   21      they are?
   22              A.       Newark.
   23              Q.       Okay.
   24              A.       And in Elizabeth.           There's a Supremos
   25      in Elizabeth.

                                      Veritext Legal Solutions
        800-227-8440                                                    973-410-4040
Case 2:16-cv-06576-KM-MAH Document 266-38 Filed 10/10/22 Page 15 of 33 PageID: 12064

                                       RODRIGUEZ

                                                                    Page 25

    1              Q.     Okay.    Now, after that meeting with
    2      Mr. Yepes that day, did you have any further
    3      meetings with Mr. Yepes in connection with the
    4      Latinfood's Zenu branded products?
    5              A.     No.
    6              Q.     He never mentioned it to you again?
    7              A.     Nope.
    8              Q.     Did he go in your store to check if you
    9      had any Zenu products?
   10              A.     If he did, he didn't bring it to my
   11      attention.
   12              Q.     Did Mr. Yepes offer you, Food Fair, any
   13      kind of preferential treatment if you -- if you
   14      stopped selling Latinfood's Zenu branded products?
   15              A.     No.
   16              Q.     No special discounts?
   17              A.     On what?
   18              Q.     On goods that he was selling.
   19              A.     No.
   20              Q.     Other than Mr. Yepes, has anyone else
   21      from Cordialsa ever discussed this matter with you?
   22              A.     No.
   23              Q.     Did you discuss this matter with anyone
   24      else in your organization?
   25              A.     No.

                                   Veritext Legal Solutions
        800-227-8440                                                   973-410-4040
Case 2:16-cv-06576-KM-MAH Document 266-38 Filed 10/10/22 Page 16 of 33 PageID: 12065

                                       RODRIGUEZ

                                                                    Page 26

    1              Q.     Not to this day?
    2              A.     Not to this day.
    3              Q.     Have you mentioned this to anybody
    4      else, other supermarket managers, by any chance?
    5              A.     No.
    6              Q.     Did you discuss this matter with
    7      anybody named Michelle?
    8              A.     That's my store manager.
    9              Q.     Did you discuss this with her?
   10              A.     It's a guy.
   11              Q.     A guy, excuse me.
   12              A.     Yeah.
   13              Q.     What's his full name?
   14              A.     Perez.
   15              Q.     Michelle?
   16              A.     Perez.
   17              Q.     Okay.
   18              A.     I mean, discussing it when it happened
   19      at the store, nothing further from that and probably
   20      not even -- he's probably not even aware of the
   21      conversation that Wilson had with Alejandro in the
   22      parking lot.
   23              Q.     And do you currently sell any
   24      Latinfood's Zenu branded products at your store?
   25              A.     No.

                                   Veritext Legal Solutions
        800-227-8440                                                   973-410-4040
Case 2:16-cv-06576-KM-MAH Document 266-38 Filed 10/10/22 Page 17 of 33 PageID: 12066

                                       RODRIGUEZ

                                                                    Page 27

    1              Q.     Did you ever receive any customer
    2      complaints about Latinfood's Zenu branded goods?
    3              A.     No.
    4                     MR. INGBER:       I want to take a short
    5      break.
    6                     (A recess was taken.)
    7              Q.     I don't have any further questions for
    8      you.
    9              A.     Okay.
   10                     MR. KADOSH:       Wait.      I'm going to ask
   11      you a couple of questions.
   12                     (An off-the-record discussion was
   13      held.)
   14
   15      CROSS-EXAMINATION BY MR. KADOSH:
   16              Q.     Now, just introduce myself, my name is
   17      Sam Kadosh and we represent Industria, which is the
   18      company that makes the Zenu products in Colombia and
   19      so I'm going to refer to -- we're going to be
   20      discussing the Latinfood Zenu products and also the
   21      Colombian Zenu products.         And we're the plaintiffs
   22      in this lawsuit.     We represent, you know, the
   23      company that is the plaintiff in this lawsuit, and
   24      we sued Mr. Zuluaga and his company.
   25              A.     Okay.

                                   Veritext Legal Solutions
        800-227-8440                                                   973-410-4040
Case 2:16-cv-06576-KM-MAH Document 266-38 Filed 10/10/22 Page 18 of 33 PageID: 12067

                                       RODRIGUEZ

                                                                    Page 29

    1              Q.     Relatives who have Colombian ancestry
    2      or heritage?
    3              A.     Nope.
    4              Q.     When did you first meet Wilson?
    5              A.     Around the time we opened the store,
    6      2012.
    7              Q.     And what was the -- how did you come to
    8      meet him?
    9              A.     Because of the goods that he sells,
   10      Colombian products.
   11              Q.     And so he -- just to clarify, he came
   12      to your store to have his products placed in your
   13      store, is that what happened?
   14              A.     I don't remember if I reached out to
   15      him or he reached out to me.
   16              Q.     And how would you have known to reach
   17      out to him?
   18              A.     By the products he sells, word of
   19      mouth, who sells what, numbers, and that's -- we're
   20      all in the same business, so we usually use --
   21      98 percent of the chance we all using the same
   22      vendor.
   23              Q.     And what was Wilson or Latinfood's
   24      reputation, what types of products did they sell?
   25              A.     Colombian products.

                                   Veritext Legal Solutions
        800-227-8440                                                   973-410-4040
Case 2:16-cv-06576-KM-MAH Document 266-38 Filed 10/10/22 Page 19 of 33 PageID: 12068

                                       RODRIGUEZ

                                                                    Page 30

    1              Q.     Now, when you say Colombian products --
    2      actually, strike that question.
    3                     Now, did -- when you first met Wilson,
    4      did he make any types of sales pitch to you about
    5      his products?
    6              A.     Every vendor makes a sales pitch.           They
    7      all trying to sell their products.
    8              Q.     Did he give you any written materials I
    9      guess is my question?
   10              A.     Written materials?
   11              Q.     Yeah.    Like a brochure --
   12              A.     Like a list of -- I don't recall.           I
   13      don't recall.
   14              Q.     Okay.    You're doing great, but just
   15      wait until I finish the question before you answer
   16      so that it will be a clear record of me asking the
   17      questions and you answering.           So you're doing a
   18      great job, but let's just slow it down a bit.
   19              A.     Okay.
   20              Q.     Now, before you met Wilson, had you
   21      ever heard of the Zenu brand?
   22              A.     No.
   23              Q.     Had you ever heard of the Ranchera
   24      brand?
   25              A.     No.

                                   Veritext Legal Solutions
        800-227-8440                                                   973-410-4040
Case 2:16-cv-06576-KM-MAH Document 266-38 Filed 10/10/22 Page 20 of 33 PageID: 12069

                                       RODRIGUEZ

                                                                    Page 31

    1              Q.     Did you know that the Zenu and Ranchera
    2      brands were products that were sold in Colombia for
    3      the last 60 years?
    4                     MR. INGBER:       Objection.
    5              A.     No.
    6              Q.     How did you decide to sell the Zenu and
    7      Ranchera products?
    8              A.     By bringing it into the store and if it
    9      sold, we repeat the order.
   10              Q.     Now, do you recall did Wilson ever tell
   11      you anything specific about the Zenu products that
   12      he was selling?
   13              A.     They were a brand known in Colombia.
   14              Q.     Now, did he explain to you whether
   15      these products were manufactured in Colombia or the
   16      U.S.?
   17              A.     No.
   18              Q.     Did he tell you something to the effect
   19      that he was the American distributor of the
   20      Colombian Zenu?
   21              A.     No.
   22              Q.     Did he tell you something to the effect
   23      that he was the American importer of the Colombian
   24      Zenu?
   25              A.     No.

                                   Veritext Legal Solutions
        800-227-8440                                                   973-410-4040
Case 2:16-cv-06576-KM-MAH Document 266-38 Filed 10/10/22 Page 21 of 33 PageID: 12070

                                       RODRIGUEZ

                                                                    Page 32

    1              Q.     Now, when's the first time that you
    2      learned about the lawsuit between the Colombian Zenu
    3      and Latinfood and Mr. Zuluaga?
    4              A.     When I got the subpoena, I mean the
    5      letter.
    6              Q.     Yeah, sure.
    7                     And did you communicate with Wilson
    8      about the subpoena?
    9              A.     No.
   10              Q.     Okay.    Did you communicate with
   11      Mr. Ingber about the subpoena?
   12              A.     Well, just about coming to the
   13      deposition, yeah.
   14              Q.     Okay.    Now, let's go back to the time
   15      around the incident, you know, which Mr. Ingber is
   16      representing is around July 15th, 2015.            How often
   17      would you place orders for Latinfood products at
   18      that time?
   19              A.     Every week.
   20              Q.     Every week.
   21                     And how far in advance do you place the
   22      order, like how does it work mechanically?
   23              A.     A couple of days in advance.
   24              Q.     Okay.    And how do you decide how much
   25      Latinfood product to order?

                                   Veritext Legal Solutions
        800-227-8440                                                   973-410-4040
Case 2:16-cv-06576-KM-MAH Document 266-38 Filed 10/10/22 Page 22 of 33 PageID: 12071

                                       RODRIGUEZ

                                                                       Page 33

    1              A.     Customer demand.          All depend on
    2      customer demand.
    3              Q.     And would that demand vary over the
    4      course of the year or there was a pretty steady
    5      demand?
    6              A.     It was a pretty steady demand.
    7              Q.     You had testified earlier that
    8      Mr. Yepes had told you that the Latinfood's Zenu
    9      products were not authorized.            Is that correct?
   10              A.     That is correct.
   11              Q.     Did he tell you that they were spoiled?
   12              A.     No.
   13              Q.     Did he say that they were rotten?
   14              A.     No.
   15              Q.     Did he make any representations saying
   16      that they were like inferior quality in any way?
   17              A.     No.
   18              Q.     Just give me a moment.              I'm going to
   19      mark an exhibit.
   20                     MR. KADOSH:       I want to mark this as
   21      Latinfood 2.
   22                     (Latinfood 2, Latinfood Invoice #18464,
   23      FOODFAIR 0000026 - 31, is marked for
   24      identification.)
   25              Q.     Mr. Rodriguez, you've been handed a

                                   Veritext Legal Solutions
        800-227-8440                                                     973-410-4040
Case 2:16-cv-06576-KM-MAH Document 266-38 Filed 10/10/22 Page 23 of 33 PageID: 12072

                                       RODRIGUEZ

                                                                    Page 34

    1      document that's been marked Latinfood Exhibit 2.              If
    2      you could just take a moment to look through these
    3      documents and then I want to ask you some questions
    4      about them.
    5                     All right.      Are you ready?
    6              A.     Yes.
    7              Q.     Okay.    Mr. Rodriguez, do you recognize
    8      what these documents are?
    9              A.     Yes, they're invoices.
   10              Q.     And are they invoices from Latinfood?
   11              A.     That is correct.
   12              Q.     And these are invoices that were sent
   13      to you, Food Fair, correct?
   14              A.     Correct.
   15              Q.     All right.      If we can take a look at
   16      the first page.     So this is an invoice dated
   17      June 18th, 2015.      Is that correct?
   18              A.     Yes.
   19              Q.     And there's two pieces of information
   20      that I'm going to want to look at from invoice to
   21      invoice, and that is the units that are sold and
   22      then the total amount due on this invoice.            So in
   23      this first invoice from June 18th, 2015, so like a
   24      month before this issue with Mr. Yepes and
   25      Mr. Zuluaga, there were 60 units sold and the total

                                   Veritext Legal Solutions
        800-227-8440                                                   973-410-4040
Case 2:16-cv-06576-KM-MAH Document 266-38 Filed 10/10/22 Page 24 of 33 PageID: 12073

                                        RODRIGUEZ

                                                                         Page 35

    1      price was 179, right, and 40 cents.                 Is that
    2      correct?
    3              A.     That is correct.
    4              Q.     Now, you go to the next page you have
    5      an invoice from 6/30/2015 and it looks here you have
    6      84 units sold or 85 rather units sold and a total
    7      price of 384.    Is that correct?
    8              A.     Yes.
    9              Q.     Now, is that unusual to see such a
   10      significant increase in one week to the next?
   11              A.     Yeah, different product.
   12              Q.     Well, can you explain what you mean by
   13      that answer?
   14              A.     Well, you have 20 quantity of an item
   15      that's not in the first invoice.               So on the first
   16      invoice we have one, two, three, four, five items,
   17      one case of each.     On the second invoice you have
   18      one, two, three, four, five, six, one being 20
   19      instead of one.
   20              Q.     Uh-huh.     And so I'm sure you don't --
   21      I'm not sure.    But I would assume you don't remember
   22      exactly why you ordered this amount of this product
   23      in 2015, but you're speaking generally from your
   24      experience, is it that you ran out of one of these
   25      particular products, one of the Latinfood products

                                    Veritext Legal Solutions
        800-227-8440                                                       973-410-4040
Case 2:16-cv-06576-KM-MAH Document 266-38 Filed 10/10/22 Page 25 of 33 PageID: 12074

                                       RODRIGUEZ

                                                                    Page 36

    1      and then you reordered some more?
    2                     MR. INGBER:       Objection.
    3              A.     It's -- I don't think you're seeing the
    4      invoices correctly.      There's one item that's not on
    5      the first page that it's on the second page.
    6              Q.     Okay.
    7              A.     So nothing changes really, but the new
    8      item that was ordered.        You got one case of each as
    9      of the same first invoice, but the first invoice
   10      doesn't have the case that is 20 pounds of meat,
   11      that's not in the first one.
   12              Q.     So you added on a new product?          I mean,
   13      I'm trying to understand why there's a new product
   14      in invoice number two.        Is it that you added a new
   15      product or you carried that product, but you ran out
   16      of it?
   17              A.     It could have been that we didn't need
   18      it when the first invoice was ordered and by the
   19      time the second invoice was issued, we ordered it.
   20              Q.     Okay.    Let's move on to the third
   21      invoice dated July 9th, 2015.            So this is about a
   22      week before the incident and this is showing an
   23      order for $188.     So similar to the first invoice,
   24      less than the second invoice.
   25              A.     Correct.

                                   Veritext Legal Solutions
        800-227-8440                                                   973-410-4040
Case 2:16-cv-06576-KM-MAH Document 266-38 Filed 10/10/22 Page 26 of 33 PageID: 12075

                                         RODRIGUEZ

                                                                       Page 37

    1              Q.        Let's move on to the fourth invoice.
    2      So this is the day, July 15, 2015, this invoice is
    3      dated the same day that the Yepes/Zuluaga
    4      conversation happened and here it's showing a total
    5      amount of $116.       Is that correct?
    6              A.        Yes, but that order didn't come on the
    7      15th.       We probably ordered it and he printed it, he
    8      printed the invoice out, but this came to my store
    9      on the 17th.
   10              Q.        Okay.   So you didn't cancel this order
   11      after having the conversation with Mr. Yepes about
   12      the unauthorized Zenu products.               Is that correct?
   13              A.        Okay.   Let's go back to the beginning
   14      when I was talking with Mark is it, right?
   15                        MR. INGBER:      Yes.
   16              A.        This is meat.       Like I said before,
   17      there was no discussion about meat product.                It was
   18      the canned good products and any Zenu product, which
   19      this was a Zenu product so, but me and Alejandro
   20      never walked to the meat department and said you're
   21      not supposed to sell this either.                It all started
   22      from a display that we had in the front of the store
   23      that canned beans that said Zenu, that was where it
   24      all came from.
   25              Q.        So if I want to understand -- strike

                                     Veritext Legal Solutions
        800-227-8440                                                     973-410-4040
Case 2:16-cv-06576-KM-MAH Document 266-38 Filed 10/10/22 Page 27 of 33 PageID: 12076

                                       RODRIGUEZ

                                                                           Page 38

    1      that.
    2                     So is it your testimony that after the
    3      conversation with Mr. Yepes and Mr. Zuluaga, you
    4      stopped ordering the Zenu bean products, but not the
    5      Zenu meat products?
    6                     MR. INGBER:       Objection.
    7              A.     Correct.     The issue was with the bean
    8      products was in the grocery department of the store.
    9      He never said you can't do the meat, but being that
   10      the meat was a Zenu product also, it was all under
   11      the same umbrella.      It was a Zenu product, but
   12      everything started from the beans.                 And it was
   13      selling to me, if it was selling in the store, I
   14      didn't stop it right away.          I don't remember how --
   15      I don't remember how it was that we stopped selling
   16      it, whether it was Latinfoods that decided they
   17      weren't going to sell it anymore or maybe my guys
   18      decided not to bring it in anymore.                 I can't recall
   19      the reason why we don't have it in the store as of
   20      today.
   21              Q.     When you say your guys didn't bring it
   22      into the store, what do you mean by that?
   23              A.     My managers, my grocery managers, my
   24      meat department managers, the ones who would call
   25      Wilson or his representative to make the order.

                                   Veritext Legal Solutions
        800-227-8440                                                         973-410-4040
Case 2:16-cv-06576-KM-MAH Document 266-38 Filed 10/10/22 Page 28 of 33 PageID: 12077

                                        RODRIGUEZ

                                                                    Page 39

    1              Q.     Now, why would they make a decision to
    2      stop ordering the Zenu meat products?
    3              A.     Why would who make a decision?
    4              Q.     Your --
    5              A.     Like I said, I don't remember if it was
    6      from our end or if it was from Wilson's end from
    7      Latinfoods that they weren't sending it to us
    8      anymore.
    9              Q.     I'm trying to explore your end of
   10      things, obviously, you can't testify to decisions
   11      Wilson made.    And what I'm trying to understand is
   12      with the Zenu meat products, which is the invoices
   13      that we're looking at, I'm trying to understand
   14      whether you stopped selling those products as a
   15      result of the conversation that you had with Wilson?
   16              A.     I can't remember.
   17              Q.     And, in fact, if you go to I think the
   18      fifth page of this invoice, the one that has the
   19      Number 30 all the way on the bottom, it looks like
   20      on July 23rd, so a week after the conversation with
   21      Wilson and Mr. Yepes, you're ordering more Zenu
   22      products.    Isn't that correct?           Zenu meat products.
   23              A.     Yes.
   24              Q.     And then if you go to the last page,
   25      this is now two weeks after the conversation with

                                    Veritext Legal Solutions
        800-227-8440                                                   973-410-4040
Case 2:16-cv-06576-KM-MAH Document 266-38 Filed 10/10/22 Page 29 of 33 PageID: 12078

                                       RODRIGUEZ

                                                                    Page 40

    1      Mr. Yepes and Mr. Zuluaga, you're ordering $109 of
    2      Zenu meat products?
    3              A.     That's correct.
    4                     MR. KADOSH:       I just want to mark one
    5      more exhibit.
    6                     (Latinfood 3, Latinfood Invoice #18908
    7      FOODFAIR 0000032 - 34, is marked for
    8      identification.)
    9              Q.     You've been handed what's been marked
   10      Latinfoods Exhibit 3 and these are some more
   11      invoices between Latinfood and Food Fair.            So if you
   12      can look at the first invoice, it's dated
   13      August 20th, 2015.      And it shows the total for this
   14      invoice is $327.     And these were for Zenu products.
   15      Is that correct?
   16              A.     Correct.
   17              Q.     And this was about a month after the
   18      conversation between Mr. Yepes and Mr. Zuluaga,
   19      correct?
   20              A.     Correct.
   21              Q.     If you go to the second page of this
   22      exhibit, you have -- it's for an invoice dated
   23      9/9 and the total for the invoice is $487 and it's
   24      also for Zenu products.        Is that correct?
   25              A.     Correct.

                                   Veritext Legal Solutions
        800-227-8440                                                   973-410-4040
Case 2:16-cv-06576-KM-MAH Document 266-38 Filed 10/10/22 Page 30 of 33 PageID: 12079

                                       RODRIGUEZ

                                                                     Page 41

    1              Q.     And then if you go to 9/17, which is
    2      the last invoice, so this is two months after the
    3      conversation between Mr. Yepes and Mr. Zuluaga, and
    4      the invoice amount for these products is 131.22.
    5      Isn't that correct?
    6              A.     Correct.
    7              Q.     And then it looks -- one of the items
    8      is circled and it says returned.              What does that
    9      mean?
   10              A.     That it was returned.
   11              Q.     Okay.    Now, do you still carry the
   12      Latinfoods Zenu meat products in your store?
   13              A.     No.
   14              Q.     Do you recall when you stopped carrying
   15      them?
   16              A.     No.
   17              Q.     Do you carry any of Mr. Zuluaga's items
   18      in your store anymore?
   19              A.     Yes, I do.
   20              Q.     What items?
   21              A.     Just Colombian chips, guava paste,
   22      bananas, groceries, grocery items.
   23              Q.     If you look through your records, would
   24      you be able to figure out when you stopped ordering
   25      the Latinfoods Zenu meat products?

                                   Veritext Legal Solutions
        800-227-8440                                                      973-410-4040
Case 2:16-cv-06576-KM-MAH Document 266-38 Filed 10/10/22 Page 31 of 33 PageID: 12080

                                        RODRIGUEZ

                                                                      Page 42

    1              A.      Yeah, I'm pretty sure I'll be able to
    2      figure it out.
    3              Q.      Okay.    So Mr. Ingber and I will
    4      follow-up with you, because I think that would be
    5      just a pretty important piece of information for the
    6      lawsuit.     We'll follow-up with you after the
    7      deposition to get that date.
    8              A.      But that's going to be -- based on the
    9      year, it's going to be pretty tough to do.               I have
   10      maybe after two years I don't think I keep much
   11      invoice records after two years.               So, again, I can
   12      definitely look and see, but I don't know if I'm
   13      going to find anything from 2017 or 2016.
   14              Q.      Okay.    Meaning if it was before 2016?
   15              A.      Yeah.    I would say -- I would have to
   16      say probably not before 2016.
   17              Q.      Okay.    All right.        We'll follow-up with
   18      you.    What's the best way to follow-up, do you have
   19      an email address?
   20              A.      Yes.    Foodfair956@gmail.com.
   21              Q.      No further questions.
   22                      MR. INGBER:       Okay.      We'll have a short
   23      break.
   24                      (A recess was taken.)
   25

                                    Veritext Legal Solutions
        800-227-8440                                                    973-410-4040
Case 2:16-cv-06576-KM-MAH Document 266-38 Filed 10/10/22 Page 32 of 33 PageID: 12081

                                       RODRIGUEZ

                                                                    Page 43

    1      REDIRECT EXAMINATION BY MR. INGBER:
    2              Q.     A few more questions, Mr. Rodriguez.
    3      So does Food Fair cater to other Latin countries of
    4      people and culture other than Colombians?
    5              A.     Yes.
    6              Q.     Like Mexican?
    7              A.     Peruvians, Dominicans, and Central
    8      American.
    9              Q.     Brazilians?
   10              A.     No, not Brazilian.
   11              Q.     Ecuadorians?
   12              A.     Yes.
   13              Q.     Okay.    Do you know if Latinfood has
   14      lines of food that don't cater to Colombians?
   15              A.     Yes.    That they don't cater to
   16      Colombians?
   17              Q.     That they sell foods that aren't
   18      directed towards Colombians, they're directed to
   19      other nationalities.
   20              A.     I don't think so, no.
   21              Q.     Okay.    Would your line managers know
   22      if --
   23              A.     Yes.
   24              Q.     What would they know?
   25              A.     They're the ones who make the order.

                                   Veritext Legal Solutions
        800-227-8440                                                   973-410-4040
Case 2:16-cv-06576-KM-MAH Document 266-38 Filed 10/10/22 Page 33 of 33 PageID: 12082

                       VERITEXT LEGAL SOLUTIONS
             COMPANY CERTIFICATE AND DISCLOSURE STATEMENT

        Veritext Legal Solutions represents that the
        foregoing transcript is a true, correct and complete
        transcript of the colloquies, questions and answers
        as submitted by the court reporter. Veritext Legal
        Solutions further represents that the attached
        exhibits, if any, are true, correct and complete
        documents as submitted by the court reporter and/or
        attorneys in relation to this deposition and that
        the documents were processed in accordance with
        our litigation support and production standards.

        Veritext Legal Solutions is committed to maintaining
        the confidentiality of client and witness information,
        in accordance with the regulations promulgated under
        the Health Insurance Portability and Accountability
        Act (HIPAA), as amended with respect to protected
        health information and the Gramm-Leach-Bliley Act, as
        amended, with respect to Personally Identifiable
        Information (PII). Physical transcripts and exhibits
        are managed under strict facility and personnel access
        controls. Electronic files of documents are stored
        in encrypted form and are transmitted in an encrypted
        fashion to authenticated parties who are permitted to
        access the material. Our data is hosted in a Tier 4
        SSAE 16 certified facility.

        Veritext Legal Solutions complies with all federal and
        State regulations with respect to the provision of
        court reporting services, and maintains its neutrality
        and independence regardless of relationship or the
        financial outcome of any litigation. Veritext requires
        adherence to the foregoing professional and ethical
        standards from all of its subcontractors in their
        independent contractor agreements.

        Inquiries about Veritext Legal Solutions'
        confidentiality and security policies and practices
        should be directed to Veritext's Client Services
        Associates indicated on the cover of this document or
        at www.veritext.com.
